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1    JOSEPH T. MCNALLY
     Acting United States Attorney
2    LINDSEY GREER DOTSON
     Assistant United States Attorney
3    Chief, Criminal Division
     DEREK R. FLORES (Cal. Bar No. 304499)
4    Assistant United States Attorney
     Violent and Organized Crime Section
5         1300 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-4896
7         Facsimile: (213) 894-0141
          Email:     derek.flores@usdoj.gov
8
     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA
10                            UNITED STATES DISTRICT COURT
11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,               No. 2:16-CR-00729-JAK

13             Plaintiff,                    GOVERNMENT’S BRIEF REGARDING
                                             DEFENDANT’S SPEEDY TRIAL AND DUE
14                   v.                      PROCESS RIGHTS

15   ALBERT BENJAMIN PEREZ, JR.,
       aka “Dragon,”
16

17             Defendant.

18

19

20        Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorney Derek R. Flores,
23   hereby files this brief regarding defendant Albert Benjamin Perez,
24   Jr.’s Speedy Trial and Due Process rights.
25        This brief is based upon the attached memorandum of points
26   //
27   //
28   //
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1    and authorities, the files and records in this case, and such further

2    evidence and argument as the Court may permit.

3    Dated: January 30, 2025              Respectfully submitted,

4                                         JOSEPH T. MCNALLY
                                          Acting United States Attorney
5
                                          LINDSEY GREER DOTSON
6                                         Assistant United States Attorney
                                          Chief, Criminal Division
7

8
                                          DEREK R. FLORES
9                                         Assistant United States Attorney
10                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
11

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1                       MEMORANDUM OF POINTS AND AUTHORITIES

2    I.   INTRODUCTION

3         Defendant Albert Benjamin Perez, Jr. (“defendant”), a multiple-

4    time felon, is charged in a superseding indictment in this case with

5    distributing methamphetamine, possessing with intent to distribute

6    methamphetamine, possessing with intent to distribute heroin,

7    possessing a firearm in furtherance of a drug trafficking crime, and

8    being a felon in possession of a firearm and ammunition. These

9    charges carry a mandatory minimum sentence of 15 years’ imprisonment
10   and a statutory maximum sentence of life imprisonment. Defendant was
11   detained pending trial in 2016 but was released on bond in 2021. In
12   2022, defendant violated his conditions of pretrial release and has
13   been detained since then.
14        The Speedy Trial Act clock in this case originally started on
15   November 2, 2016, when defendant made his initial appearance, but was
16   reset to November 13, 2017, when this Court granted defendant’s
17   motion to withdraw from a guilty plea. Defendant had requested to
18   withdraw from his guilty plea, over the government’s opposition,

19   because he had been indicted in the District of Nevada after he pled

20   guilty in this matter.

21        Defendant’s Speedy Trial and Due Process rights have not been

22   violated because defendant requested and stipulated to each and every

23   continuance in this case, which this Court granted, to the current

24   trial date of July 29, 2025. In those requests, defendant and his

25   counsel requested the continuance on multiple grounds, including

26   because counsel needed additional time to investigate the case,

27   review the discovery and evidence, and prepare for trial in the event

28   that a pretrial resolution did not occur.
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1          Additionally, between 2017 and 2020, defendant was pending trial

2    in the Nevada case, which involved more serious charges and whose

3    trial estimate was much longer than this case. As a basis for his

4    continuance requests, defendant also noted that he needed time to

5    prepare for the Nevada trial. A few weeks after defendant was

6    acquitted in the Nevada case after a 77-day trial in February 2020,

7    the Central District of California suspended all jury trials for more

8    than a year in March 2020 in response to the COVID-19 pandemic.

9          Competency proceedings in this case have also been ongoing since
10   January 13, 2023, when this Court granted defendant’s request for a
11   competency hearing. At the September 2023 competency hearing, the
12   government argued that defendant was competent, but defense counsel
13   requested a further neuropsychological evaluation, arguing that such
14   an evaluation would demonstrate the purported competency concerns.
15   The Court granted that request and defense counsel is in the process
16   of having an outside evaluator conduct that evaluation of defendant.
17         Accordingly, defendant’s Speedy Trial Act and Due Process rights
18   have not been violated because (1) each of the trial continuances in

19   this case was requested by defendant, supported by the Speedy Trial

20   Act, and ordered by this Court, (2) defendant has not asserted his

21   Speedy Trial rights, (3) the delays in this case have been justified,

22   and (4) defendant has not been prejudiced by the delay.

23   II.   FACTUAL BACKGROUND

24         Defendant has multiple prior California state felony

25   convictions, including 2014 convictions for possessing a controlled

26   substance for sale, in violation of Cal. Health & Safety Code §

27   11351, and for being a felon in possession of a firearm, in violation

28   of Cal. Penal Code § 29800(a)(1).

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1         On June 16, 2016, defendant sold a confidential informant (the

2    “CI”) approximately one ounce of methamphetamine and an AK-47-type

3    firearm (which was also a ghost gun) during a recorded controlled

4    purchase. During a recorded call between defendant and the CI

5    following the controlled purchase, the CI asked defendant if the CI

6    could buy more AK-47-type firearms, and defendant responded in the

7    affirmative. Later that day, defendant messaged the address of his

8    Granada Hills residence to the CI.

9         On October 18, 2016, defendant was charged in a single-count
10   indictment in this case with distribution of at least 28 grams of
11   methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1),
12   (b)(1)(B)(viii). (Dkt 1.)
13        On November 2, 2016, law enforcement arrested defendant on an
14   arrest warrant from that indictment and searched his Granada Hills
15   residence pursuant to a federal search warrant. Inside defendant’s
16   bedroom, law enforcement found: (1) approximately 6.62 grams of
17   actual methamphetamine in two vials in a bag on a nightstand and on a
18   shelf of the same nightstand; and (2) a .380 caliber semiautomatic

19   pistol with no serial number and .380 auto caliber ammunition on a

20   shelf. Inside another one of the rooms in the residence controlled by

21   defendant, law enforcement found: (1) approximately 563 grams of

22   actual methamphetamine in a plastic bag, (2) approximately 9.37 grams

23   of cocaine in a plastic bag, (3) approximately 51.86 grams of heroin,

24   a Compania Nationala 7.62 x 39 mm caliber short barreled AK-type

25   semiautomatic pistol stored near the drugs, multiple rounds of 7.62 x

26   39 mm ammunition, an HS Produkt model XD .45 caliber semiautomatic

27   pistol, multiple rounds of .45 Auto caliber ammunition, and various

28   other kinds of ammunition.

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1         On November 17, 2020, defendant was charged in a first

2    superseding indictment in this case with additional charges for (1)

3    possession with intent to distribute methamphetamine, in violation of

4    21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii), (2) possession with intent

5    to distribute heroin, in violation of 21 U.S.C. §§ 841(a)(1),

6    (b)(1)(C), (3) possession of firearms in furtherance of a drug

7    trafficking crime, in violation of 18 U.S.C. § 924(c)(1)(A)(i), and

8    (4) being a felon in possession of firearms and ammunition, in

9    violation of 18 U.S.C. § 922(g)(1). (Dkt. 98.)
10        If convicted of these charges, defendant faces a mandatory
11   minimum sentence of 15 years’ imprisonment and a statutory maximum
12   sentence of life imprisonment under the §§ 841(a)(1), (b)(1)(A) and
13   § 924(c)(1)(A)(i) charges.
14   III. CASE HISTORY
15        A.    2016-2017: Defendant Is Detained Pending Trial in 2016 and
                Pleads Guilty in 2017
16

17        On November 2, 2016, defendant made his initial appearance in
18   this case and was detained pending trial; the Court originally set

19   trial for December 27, 2016, and trial originally needed to commence

20   on or before January 11, 2017. (Dkt. 11.)

21        On December 6, 2016, the parties filed a stipulation and request

22   to continue the trial date to May 9, 2017, and find the time period

23   of December 27, 2016, to May 23, 2017, excludable under 18 U.S.C.

24   §§ 3161(h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv) of the Speedy Trial

25   Act; the Court granted the request and made those findings on

26   December 7, 2016. (Dkts. 20, 22.)

27        On April 12, 2017, the parties entered into a plea agreement in

28   this case. (Dkt. 35.) On April 20, 2017, defendant pled guilty

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1    pursuant to the plea agreement and the Court set a sentencing hearing

2    for July 13, 2017. (Dkt. 37.)

3         B.    2017-2022: Defendant Withdraws from his Guilty Plea and a
                New Speedy Trial Clock Starts; the Court Continues the
4               Trial and Makes Findings of Excludable Time

5         On June 14, 2017, defendant and others were charged in a 12-

6    count superseding indictment in the District of Nevada, in United

7    States v. Palafox, et al., Case No. 1:16-cr-265-GMN (D. Nev.).

8    Defendant was charged in that case with conspiracy to participate in

9    a racketeering enterprise, in violation of 18 U.S.C. § 1962(d)
10   (“RICO”), murder in aid of racketeering, in violation of 18 U.S.C.
11   § 1959(a)(1), (2), and using and carrying a firearm in the commission
12   of murder, in violation of 18 U.S.C. § 924(j)(1), (2).           In June 2017,
13   defendant was transferred on a writ to the District of Nevada and
14   ordered detained in that case.
15        Pursuant to defendant’s multiple requests and over the
16   government’s objections, the Court moved the sentencing hearing in
17   this case to October 12, 2017. (Dkts. 43, 46, 52.)
18        On September 28, 2017, defendant moved to withdraw his guilty

19   plea, arguing that he would not have pled guilty had he known he was

20   going to be indicted in the Nevada case; the government opposed.

21   (Dkts. 53, 57.)

22        On November 13, 2017, the Court granted defendant’s motion to

23   withdraw from his guilty plea. (Dkt. 64.) That order caused a new

24   seventy-day period to begin under 18 U.S.C. § 3161(i), and therefore

25   trial was required to commence on or before January 22, 2018. On

26   November 16, 2017, upon defendant’s knowing and voluntary oral Speedy

27   Trial Act waiver, the Court set a tentative trial date of April 3,

28   2018, that was later continued as detailed below. (Dkt 65.)

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1         On July 19, 2019, defendant’s Nevada trial commenced. On

2    February 24, 2020, after a 77-day jury trial, defendant was acquitted

3    in the Nevada case.

4         C.    2017-2025: Defendant Requests to Continue the Trial and the
                Court Makes Findings of Excludable Time
5

6         During the entirety of this case, defendant has requested

7    continuances of the trial date and findings of excludable time under

8    18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv). The

9    Court granted all those requests and continued the trial from April
10   3, 2018, to the current trial date of July 29, 2025. (Dkts. 67, 74,
11   76, 81, 107, 192, 204, 217, 227, 235, 246.)
12        In each of those stipulations, defendant and his counsel
13   requested a continuance because “additional time [was] necessary to
14   confer with defendant, conduct and complete an independent
15   investigation of the case, conduct and complete additional legal
16   research including for potential pre-trial motions, review the
17   discovery and potential evidence in the case, and prepare for trial
18   in the event that a pretrial resolution does not occur.” (See, e.g.,

19   Dkt. 75 at 4.) And, in the stipulations prior to defendant’s February

20   2020 acquittal in the Nevada case, defendant and his counsel stated

21   that they would not be able to prepare for trial in this case while

22   the Nevada case was pending due to defendant’s preparation for that

23   trial, which involved more serious charges and was estimated to take

24   much longer than the trial in this case. (See, e.g., id. at 3-4

25   (“[T]he parties in [the Nevada] case presently estimate that trial

26   will last at least eight to ten weeks . . . . Accordingly, defendant

27   and counsel for defendant represent that they will not have time or

28   ability to confer with one another concerning this case through fall

                                             6
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1    of 2019, in view of defendant’s preparation for and trial in, the

2    [Nevada] case.”).)

3         D.    2020-2022: Pandemic-Related Court Closures, Defendant Is
                Released on Bond, and Defendant Is Re-Detained
4

5         On March 13, 2020, the United States District Court for the

6    Central District of California issued Amended General Order No. 20-

7    02, titled “In Re: Coronavirus Public Emergency Order Concerning Jury

8    Trials and Other Proceedings.” Pursuant to that order, the Central

9    District of California did not call jurors for criminal jury trials
10   until April 13, 2020, and the time period of any trial continuance
11   entered pursuant to that order was excluded under 18 U.S.C.
12   § 3161(h)(7)(A). The Central District of California extended the
13   period for which jurors were not summoned in General Order Nos. 20-
14   05, 20-08, 20-09, 21-03, and 21-06 before ultimately re-commencing
15   jury trials on June 7, 2021, pursuant to General Order No. 21-07.
16        On October 13, 2020, defendant filed a motion to be released
17   pending trial, which the government opposed. (Dkts. 88, 91.) On
18   February 4, 2021, the Court denied defendant’s motion for pretrial

19   release without prejudice. (Dkt. 118.) On March 19, 2021, defendant

20   filed an amended application to be released pending trial, which the

21   government opposed. (Dkts. 126, 136.) On April 13, 2021, the

22   magistrate judge granted defendant’s motion and he was released

23   pending trial. (Dkts. 142, 150.)

24        On March 29, 2022, defendant made an initial appearance

25   regarding the revocation of pretrial release and the magistrate judge

26   again detained defendant pending trial. (Dkt. 173.)

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1          E.   2023-2025: Proceedings to Determine Defendant’s Competency

2          On January 11, 2023, defendant filed an unopposed motion to

3    determine competency upon report pursuant to 18 U.S.C. § 4241, which

4    the Court granted on January 13, 2023. (Dkts. 189, 191.)

5          On September 14, 2023, the Court held a hearing on defendant’s

6    competency after the issuance of the report. (Dkt. 222.) At the

7    hearing, the government argued that defendant was competent as

8    indicated by the report. Defendant argued that an additional

9    neuropsychological evaluation, which differed from the evaluation
10   that the BOP had performed to prepare the report, would reveal that
11   defendant was not competent. (See Dkt. 220.) The Court ultimately did
12   not make a final determination of defendant’s competency at the

13   hearing and granted defendant’s request for a neuropsychological

14   evaluation. (Dkt. 227.)

15         Because the BOP could not conduct the neuropsychological

16   examination of defendant, defense counsel obtained an outside

17   evaluator (Dr. Sherman) to conduct the evaluation.          Defense counsel

18   is currently working with the BOP so that Dr. Sherman can conduct the

19   evaluation. (Dkts. 238, 263.)

20   IV.   DEFENDANT’S DUE PROCESS AND SPEEDY TRIAL RIGHTS HAVE NOT BEEN
           VIOLATED
21

22         Under the Sixth Amendment, defendants have a “due process right

23   to a speedy trial.” Barker v. Wingo, 407 U.S. 514, 536 (1972); U.S.

24   Const. amend. VI (“In all criminal prosecutions, the accused shall

25   enjoy the right to a speedy and public trial.”). The Ninth Circuit

26   has held, however, that “it will be an unusual case in which the time

27   limits of the Speedy Trial Act have been met but the Sixth Amendment

28   right to speedy trial has been violated.”         United States v. Nance,

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1    666 F.2d 353, 360 (9th Cir. 1982); United States v. Baker, 63 F.3d

2    1478, 1497 (9th Cir. 1995) (“[T]he Speedy Trial Act affords greater

3    protection to a defendant’s right to a speedy trial than is

4    guaranteed by the Sixth Amendment, and therefore a trial which

5    complies with the Act raises a strong presumption of compliance with

6    the Constitution.”).

7         A.    There Have Been No Speedy Trial Act Violations in this Case

8         As detailed above, there have been no Speedy Trial Act

9    violations in this case. For purposes of the Speedy Trial Act,
10   defendant has been pending trial since November 13, 2017. (See Dkt.
11   64.) Although defendant made his initial appearance on November 2,

12   2016, he subsequently pled guilty and then moved to withdraw his

13   plea. (Dkts. 11, 37, 53.) For that reason, “the day the order

14   permitting withdrawal of the plea becomes final” is the day upon

15   which the Speedy Trial Act clock starts; here, that is November 13,

16   2017. See 18 U.S.C. § 3161(i); (Dkt. 64). Since then, the Court has

17   continued this case to July 29, 2025, and found the interim periods

18   to be excludable under the Speedy Trial Act.

19        Because there have been no Speedy Trial Act violations in this

20   case, there is a strong presumption of compliance with the Sixth

21   Amendment. Nevertheless, to evaluate whether a defendant has been

22   deprived of his Sixth Amendment right to a speedy trial, the Supreme

23   Court has adopted “a balancing test . . . in which the conduct of

24   both the prosecution and the defendant are weighed.”           Barker v.

25   Wingo, 407 U.S. 514, 530 (1972). Specifically, the Court has

26   identified four factors that are to be considered: (1) the length of

27   the delay; (2) the reason for the delay; (3) the defendant’s

28   assertion of his right; and (4) the prejudice to the defendant.                Id.

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1    “[N]one of the four factors . . . [is] either a necessary or

2    sufficient condition to the finding of a deprivation of the right of

3    speedy trial.    Rather, they are related factors and must be

4    considered together with such other circumstances as may be

5    relevant.”    Id. at 533.

6         As defendant has been pending trial for approximately seven-and-

7    a-half years, that is sufficient to meet the Barker threshold and

8    trigger an inquiry into the three other factors. See United States v.

9    Mendoza, 530 F.3d 758, 762 (9th Cir. 2008). But these “factors are
10   related and ‘must be considered together with such other

11   circumstances as may be relevant.’” Mendoza, 530 F.3d at 762 (quoting

12   Barker, 407 U.S. at 533).

13        An analysis of these factors makes clear that defendant’s Speedy

14   Trial and Due Process rights have not been violated.

15        B.    Defendant Has Not Asserted his Speedy Trial Rights and Has
                Stipulated to the Continuances in this Case
16

17        As an initial matter, defendant’s Speedy Trial and Due Process

18   rights have not been violated because (1) he has not asserted his

19   Speedy Trial rights and (2) he has stipulated to all of the requests

20   to continue the trial in this case. 1 See United States v. Carter, 754

21   F. App’x 534, 537 (9th Cir. 2018) (defendant “waived his right to

22   object to any post-indictment delay under the Sixth Amendment's

23   Speedy Trial Clause . . .      by stipulating to nearly all of the delay

24   between his indictment and trial” (citing Barker v. Wingo, 407 U.S.

25   514, 529 (1972))); see also United States v. Turner, 926 F.2d 883,

26   889 (9th Cir. 1991) (“an improper or untimely assertion of speedy

27

28   1 Defendant stipulated to the continuances both before and after the
     withdrawal of his guilty plea.
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1    trial rights may weigh in favor of rejecting a defendant’s motion to

2    dismiss for violation of these rights”); Lam, 251 F.3d at 859

3    (“[S]uccessive requests for continuances considerably diminish the

4    weight of [defendant’s] assertions of his speedy trial right.”).

5         C.    The Delay in this Case Has Been Justified

6         Defendant’s Speedy Trial and Due Process rights have also not

7    been violated because the delay in this case has been justified.

8    Following the withdrawal of defendant’s guilty plea in 2017,

9    defendant and his counsel requested each of the continuances of the
10   trial date from 2017 through 2025. As noted in the stipulations,
11   defendant and his counsel requested the continuances because his
12   counsel was unprepared to the try the case and his counsel
13   represented to the Court that he would have been ineffective had the
14   trials proceeded on the prior dates. Defendant and his counsel noted
15   in the stipulations between 2017 and 2020 that the request was in
16   part due to the trial preparation that defendant was doing for the
17   Nevada case. That Nevada case ultimately resulted in a 77-day trial
18   that concluded on February 24, 2020.

19        And, between March 2020 and June 2021, the Central District of

20   California also suspended jury trials in response to the COVID-19

21   pandemic. That suspension was upheld by the Ninth Circuit. United

22   States v. Olsen, 21 F.4th 1036, 1049 (9th Cir. 2022) (“The Central

23   District of California did not cast aside the Sixth Amendment when it

24   entered its emergency orders suspending jury trials based on

25   unprecedented public health and safety concerns. To the contrary, the

26   orders make clear that the decision to pause jury trials and exclude

27   time under the Speedy Trial Act was not made lightly. The orders

28   acknowledge the importance of the right to a speedy and public trial

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1    both to criminal defendants and the broader public, and conclude

2    that, considering the continued public health and safety issues posed

3    by COVID-19, proceeding with such trials would risk the health and

4    safety of those involved, including prospective jurors, defendants,

5    attorneys, and court personnel.”).

6           Additionally, since January 2023, defendant has been undergoing

7    competency proceedings and has not yet been found competent. That

8    time is also excluded under the Speedy Trial Act. See 18 U.S.C.

9    § 3161(h)(1)(A) (“delay resulting from any proceeding, including any
10   examinations, to determine the mental competency or physical capacity
11   of the defendant”). 2
12          D.   Defendant Has Not Been Prejudiced

13          Finally, defendant’s Speedy Trial and Due Process rights have

14   not been violated because the delay in this case has not prejudiced

15   him.

16          “The Supreme Court has recognized three forms of prejudice that

17   can result from post-indictment delay: (1) oppressive pretrial

18   incarceration, (2) anxiety and concern of the accused, and (3) ‘the

19   possibility that the [accused’s] defense will be impaired by dimming

20   memories and loss of exculpatory evidence.’” Mendoza, 530 F.3d at 764

21   (quoting Doggett, 505 U.S. at 654).

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     2 Although some Circuits have ruled that the more time-specific
25   § 3161(h)(1)(F) applies to time periods that are covered by
     § 3161(h)(1)(A), the Ninth Circuit has indicated that the presumption
26   of unreasonableness in § 3161(h)(1)(F) does not apply to time periods
     covered by § 3161(h)(1)(A). See United States v. Antoine, 906 F.2d
27   1379, 1380 (9th Cir. 1990) (stating that “delay resulting from
     transporting” less than ten days under § 3161(h)(1)(F) is excluded
28   “[i]n addition” to delay resulting from competency determinations
     under § 3161(h)(1)(A)).
                                       12
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1         As an initial matter, defendant has not presented any evidence

2    that he has suffered anxiety or concern that rises to level of

3    prejudice.

4         Nor has defendant suffered oppressive pretrial incarceration.

5    Defendant was initially detained pretrial for approximately four

6    years from 2017 to 2021, but more than half of that time was due to

7    defendant’s Nevada case where he was also ordered detained pending

8    trial. The magistrate judge in this District then released defendant

9    on bond in 2021, and he is only currently in custody because he
10   violated the conditions of his pretrial release in 2022. Although
11   defendant has been in pretrial custody for a total of approximately
12   six-and-a-half years, he is facing a 15-year mandatory minimum on the
13   charges and a life maximum in this case. 3
14        Finally, the passage of time has not impaired defendant’s

15   ability to present a defense. Although this type of potential

16   prejudice is the “most serious” “because the inability of a defendant

17   adequately to prepare his case skews the fairness of the entire

18   system,” Doggett, 505 U.S. at 654, “it is also the most difficult to

19   prove because ‘time’s erosion of exculpatory evidence and testimony

20   can rarely be shown.’” Mendoza, 530 F.3d at 764 (quoting Doggett, 505

21   U.S. at 655) (omitting internal quotation marks).

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     3 Defendant will likely also face a high Guidelines range if
24   convicted. Under the original guilty plea before the first
     superseding indictment was filed in this case, defendant’s Guidelines
25   range in this case would likely have been around 235 to 293 months.
     Probation stated in the Pre-Plea Report that defendant’s criminal
26   history category is IV. (Dkt. 34 at 6.) And, under the original plea
     agreement, defendant agreed to an offense level of 38 (not including
27   the 3-point reduction for acceptance of responsibility or other
     specific offense characteristics, adjustments, and departures)
28   resulting in an offense level that would likely have been around 35.
     (Dkt. 35 at 10.)
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1         Defendant has not and cannot show that the passage of time has

2    eroded exculpatory evidence or testimony. As discussed above, the

3    evidence in this case is straightforward. Defendant is charged with

4    selling drugs to a confidential informant and possessing drugs and

5    guns at his residence when it was searched by law enforcement. The

6    controlled buy by the confidential informant was recorded, as were

7    communications between defendant and the confidential informant. Law

8    enforcement photographed items that were seized from defendant’s

9    residence. Finally, the laboratory tests of the drugs are not subject
10   to the erosion of time.
11        Accordingly, defendant has not been prejudiced by any post-
12   indictment delay and therefore there is no basis to dismiss the
13   superseding indictment in this case.
14   V.   CONCLUSION
15        For all the reasons stated above, defendant’s Speedy Trial and
16   Due Process rights have not been violated and there is no basis to
17   dismiss the superseding indictment.
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